282 F.2d 763
    In the Matter of Bernard GOLDFINE,
    No. 5745 (Original). Movant.
    United States Court of Appeals First Circuit.
    October 4, 1960.
    
      Edward Bennett Williams, Vincent J. Fuller, Washington, D. C., and Burton L. Williams, Boston, Mass., for movant.
      Elliot L. Richardson, U. S. Atty., Boston, Mass., intervenor, pro se.
      Before WOODBURY, Chief Judge, and HARTIGAN and ALDRICH, Circuit Judges.
      PER CURIAM.
    
    
      1
      This court has grave doubts that it has jurisdiction under the all writs section, 28 U.S.C. § 1651(a), to grant this motion for leave to file a petition for writ of mandamus for the reason that issuance of the writ would not be in aid of our appellate jurisdiction, but it appearing that the petitioner has a clear remedy by motion under 18 U.S.C. § 4244 of which his counsel at the hearing admitted that he was fully aware but chose not to invoke, we do not regard this as an exceptional case warranting entertainment of the writ.
    
    
      2
      An order will be entered denying the motion.
    
    